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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          4:03CR3014-4
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )          ORDER
                                          )
STEPHAN BUTCHIE EVANS,                    )
                                          )
             Defendant.                   )


       IT IS ORDERED that the correspondence from Mr. Evans, attached hereto, shall be
filed under seal by the Clerk of the Court. The Clerk shall provide copies of that
correspondence to counsel of record and the United States Marshals Service.

      April 12, 2006.                         BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge




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